Case 1:20-cv-23564-MGC Document 119-1 Entered on FLSD Docket 09/15/2021 Page 1 of 2




                   Exhibit A
DocuSign Envelope ID: 9CE14B98-7829-4728-A674-5B378F20E3B4
     Case 1:20-cv-23564-MGC Document 119-1 Entered on FLSD Docket 09/15/2021 Page 2 of 2




            By:                                              9/15/2021

             E. Yuri Hermida
             Defendant Reckitt Benckiser LLC


             By:




             By:
             David T. Biderman
             Counsel for Defendants Reckitt Benckiser
             LLC and RB Health (US) LLC




                                                                  27
